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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 CRISTOSAL HUMAN RIGHTS et al.,

                 Plaintiffs,

         v.
                                                          Case No.: __________
 PETE MAROCCO et al.,

                 Defendants.


                          MOTION FOR A PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65 and Local Civil Rule 65.1, Plaintiffs hereby

move this Court to issue a preliminary injunction enjoining Defendants from freezing, pausing, or

otherwise preventing the disbursement of funds obligated under the terms of grant agreements and

contracts entered into by the Inter-American Foundation in effect as of February 28, 2025; enjoining

Defendants from continuing to keep Inter-American Foundation employees on administrative leave

and from implementing or otherwise giving effect to a reduction in force with respect to those

employees; enjoining Defendants to pay any funds unlawfully withheld from Inter-American

Foundation grantees and contractors since February 28, 2025, and to return any funds sent by Inter-

American Foundation grantees back to the federal government under the terms of the March 4, 2025,

letter issued to those grantees; and enjoining Defendant Peter Marocco, and any purported successors

to him, from purporting to exercise the authority of the Inter-American Foundation Board or its

President, unless a Board member shall be installed through the statutorily required advice-and-

consent process, 22 U.S.C. § 290f(g), and thereby designates a new President, for the reasons set forth

in the accompanying memorandum of law. Plaintiffs also respectfully request that the Court rule on

this motion no later than April 4, 2025, for the reasons explained in their memorandum.


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     March 21, 2025                                            Respectfully submitted,

                                                               /s/ Gregory Briker
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 and supervised by DC Bar member.
†
    Application for Admission to DDC Bar forthcoming.




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